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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. _____________________

KEVIN KNIPP,


      Plaintiff,

v.

WHITING PETROLEUM CORPORATION,
KEVIN S. MCCARTHY,
JANET L. CARRIG,
SUSAN M. CUNNINGHAM,
PAUL J. KORUS,
LYNN A. PETERSON,
DANIEL J. RICE, and
ANNE TAYLOR

      Defendants.


                          COMPLAINT AND JURY DEMAND
                   FOR VIOLATIONS OF FEDERAL SECURITIES LAWS
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       Plaintiff, Kevin Knipp (“Plaintiff”), by and through his attorneys, alleges upon information

and belief, except for those allegations that pertain to him, which are alleged upon personal

knowledge, as follows:

                                SUMMARY OF THE ACTION

       1.      Plaintiff brings this stockholder action against Whiting Petroleum Corporation

(“Whiting” or the “Company”) and the Company’s Board of Directors (the “Board” or the

“Individual Defendants”), Oasis Petroleum Inc. (“Parent”), merger vehicle New Ohm LLC

(“Merger Sub” and collectively with Parent, “Oasis” and collectively with the Company and the

Board, the “Defendants”), for violations of Sections 14(a) and 20(a) of the Securities and Exchange

Act of 1934 (the “Exchange Act”) as a result of Defendants’ efforts to sell the Company to Parent

as a result of an unfair process, and to enjoin an upcoming vote on a proposed all stock transaction

(the “Proposed Transaction”).

       2.      The terms of the Proposed Transaction were memorialized in a March 7, 2022,

filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive

Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger

Agreement, Whiting will become an indirect wholly-owned subsidiary of Oasis. Whiting public

stockholders will receive, in exchange for each share of Whiting stock, 0.5774 shares of Oasis

Common Stock and $6.25 in cash.

       3.      Thereafter, on April 28, 2022, Oasis filed a Registration Statement on Schedule S-

4 (the “Registration Statement”) with the SEC in support of the Proposed Transaction.

       4.      The Proposed Transaction is unfair and undervalued for a number of reasons.

Significantly, the Registration Statement describes an insufficient process in which the Board

rushed through a sales process in which the Board failed to negotiate a collar mechanism to keep

the merger consideration within a range of reasonableness.




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       5.      Next, it appears as though the Board has entered into the Proposed Transaction to

procure for themselves and senior management of the Company significant and immediate

benefits. For instance, pursuant to the terms of the Merger Agreement, upon the consummation

of the Proposed Transaction, Company Board Members and executive officers will be able to

exchange all Company equity awards for the merger consideration.

       6.      In violation of the Exchange Act Defendants caused to be filed the materially

deficient Registration Statement on April 28, 2022 with the SEC in an effort to solicit Plaintiff to

vote his Whiting shares in favor of the Proposed Transaction. The Registration Statement is

materially deficient, deprives Plaintiff of the information necessary to make an intelligent,

informed and rational decision of whether to vote in favor of the Proposed Transaction. As detailed

below, the Registration Statement omits and/or misrepresents material information concerning,

among other things: (a) the sales process and in particular certain conflicts of interest for

management; (b) the financial projections for Whiting and Oasis, provided by Whiting and Oasis

to the Company’s financial advisor Citigroup Global Markets Inc. (“Citi”), and to Oasis’s financial

advisor Tudor, Pickering, Holt & Co. (“TPH”); and (c) the data and inputs underlying the financial

valuation analyses, if any, that purport to support the fairness opinions created by Citi and TPH

and provided to the Board.

       7.      Accordingly, this action seeks to enjoin the Proposed Transaction.

       8.      Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.




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                                              PARTIES

         9.       Plaintiff is a citizen of Wisconsin and, at all times relevant hereto, has been a

Whiting stockholder.

         10.      Defendant Whiting is a leading digital insurance platform in the United States.

Whiting is incorporated under the laws of the State of Delaware and has its principal place of

business at 1700 Lincoln Street, Suite 4700 Denver, Colorado. Shares of Whiting common stock

are traded on the New York Stock Exchange under the symbol “WLL”.

         11.      Defendant Kevin S. McCarthy (“McCarthy”) has been a Director of the Company

at all relevant times. In addition, McCarthy is the Company’s Chairman of the Board of Directors.

         12.      Defendant Janet L. Carrig (“Carrig”) has been a director of the Company at all

relevant times.

         13.      Defendant Susan M. Cunningham (“Cunningham”) has been a director of the

Company at all relevant times.

         14.      Defendant Paul J. Korus (“Korus”) has been a director of the Company at all

relevant times.

         15.      Defendant Lynn A. Peterson (“Peterson”) has been a director of the Company at all

relevant times. In addition, Peterson serves as the Company’s Chief Executive Officer (“CEO”).

         16.      Defendant Daniel J. Rice (“Rice”) has been a director of the Company at all relevant

times.

         17.      Defendant Anne Taylor (“Taylor”) has been a director of the Company at all

relevant times.

         18.      Defendants identified in ¶¶ 9 - 17 are collectively referred to as the “Individual

Defendants.”

         19.      Defendant Parent an independent exploration and production company, focuses on

the acquisition and development of onshore unconventional oil and natural gas resources in the




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United States. Parent was founded in 2007 and is headquartered in Houston, TX. Shares of Parent

common stock are traded on the NasdaqGS Exchange under the symbol “OAS”.

        20.     Defendants Merger Subs are each a wholly owned subsidiary of Parent created to

effectuate the Proposed Transaction.

                                  JURISDICTION AND VENUE

        21.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to

confer jurisdiction on a court of the United States, which it would not otherwise have. The Court

has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

        22.     Personal jurisdiction exists over each defendant either because the defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

         23.    Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

Individual Defendants, as Company officers or directors, has extensive contacts within this District;

for example, the Company maintains its principal place of business within this District.

                                SUBSTANTIVE ALLEGATIONS

Company Background

        24.     Whiting is an independent oil and gas company, engages in the acquisition,

development, and production of crude oil, natural gas, and natural gas liquids primarily in the

Rocky Mountains region of the United States. The company sells its oil and gas production to end

users, marketers, and other purchasers. As of December 31, 2021, it had interests in 1,917 net

productive wells on approximately 539,900 net developed acres, as well as total estimated proved




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reserves of 326.0 million barrels of oil equivalent. The company was founded in 1980 and is

headquartered in Denver, Colorado.

       25.     The Company’s most recent financial performance press release, revealing

financial results from the quarter preceding the announcement of the Proposed Transaction,

indicated sustained and solid financial performance. For example, in the November 3,

2021 Earnings Call announcing its 2021 Q3 financial results, the Company highlighted

such milestones as Revenue of $401 million for the quarter ending September 30, 2021

and Net income (GAAP) of $198 million or $5.00 per diluted share.

       26.     Speaking on these positive results, CEO Defendant Peterson commented on the

Company’s positive results as follows, “The team continues to execute on our business plan as

demonstrated by the substantial cash provided by operating activities of $190 million during the

quarter and $526 million for the nine-month period. The Company generated adjusted free cash

flow during the quarter of $128 million and $347 million for the nine months ended September 30,

2021. Commodity prices have continued to strengthen during the year and under current prices,

the Company expects to continue to generate substantial free cash flow during the fourth quarter

and end the year with no debt and positive cash on our balance sheet.”

       27.     These results are not an anomaly, but rather, are indicative of a trend of continued

success and future potential success by Whiting. Clearly, based upon these positive results and

outlook, the Company is likely to have tremendous future success.

       28.     Despite this upward trajectory, the Individual Defendants have caused Whiting to

enter into the Proposed Transaction without providing requisite information to Whiting

stockholders such as Plaintiff.

The Flawed Sales Process

       29.     As detailed in the Registration Statement, the process deployed by the Individual

Defendants was flawed and inadequate, was conducted out of the self-interest of the Individual




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Defendants, and was designed with only one concern in mind – to effectuate a transaction with

Oasis by any means possible.

       30.     Notably, the Registration Statement does not indicate if a special committee of

disinterested directors was created to run the sales process.

       31.     Furthermore, the Registration Statement does not disclose adequate information as

to why the Board agreed to the merger consideration without the protections of a collar mechanism

to keep the stock portion of the merger consideration within a reasonable range.

       32.     In addition, the Registration Statement is silent as to the nature of the confidentiality

agreements entered into between the Company and Oasis, whether these agreements differed from

any other agreement with potentially interested third parties not specifically mentioned by the

Registration Statement, and if so in what way, and if the terms of any such agreements included

“don’t-ask, don’t-waive” provisions or standstill provisions, and if so, the specific conditions, if

any, under which such provisions would fall away.

       33.     It is not surprising, given this background to the overall sales process, that it was

conducted in a completely inappropriate and misleading manner.

The Proposed Transaction

       34.     On March 7, 2022, Whiting and Oasis issued a joint press release announcing the

Proposed Transaction. The press release stated, in relevant part:

       DENVER & HOUSTON--(BUSINESS WIRE)--Mar. 7, 2022-- Whiting
       Petroleum Corporation (NYSE: WLL) (“Whiting”) and Oasis Petroleum Inc.
       (NASDAQ: OAS) ("Oasis") today announced they have entered into an agreement
       to combine in a merger of equals transaction. The combined company will have a
       premier Williston Basin position with top tier assets across approximately 972K net
       acres, combined production of 167.8 thousand boepd, significant scale and
       enhanced free cash flow generation to return capital to shareholders.

       Under the terms of the agreement, Whiting shareholders will receive 0.5774 shares
       of Oasis common stock and $6.25 in cash for each share of Whiting common stock
       owned. In connection with the closing of the transaction, Oasis shareholders will
       receive a special dividend of $15.00 per share. The combined company will have
       an enterprise value of ~$6.0B based on the exchange ratio and the closing share
       prices for Whiting and Oasis as of March 4, 2022. Upon completion of the




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      transaction, Whiting shareholders will own approximately 53% and Oasis
      shareholders will own approximately 47% of the combined company on a fully
      diluted basis.

      Upon closing, Whiting’s President and CEO, Lynn Peterson, will serve as
      Executive Chair of the Board of Directors of the combined company. Oasis’ CEO,
      Danny Brown, will serve as President and Chief Executive Officer and as a member
      of the Board. The combined company will be headquartered in Houston upon
      closing but will retain the Denver office for the foreseeable future. The combined
      company will operate under a new name and is expected to trade on the NASDAQ
      under a new ticker to be announced prior to closing.

      “The combination will bring together two excellent operators with complementary
      and high-quality assets to create a leader in the Williston Basin, poised for
      significant and resilient cash flow generation,” said Mr. Brown. “Over the last year,
      both companies have executed a series of deliberate strategic transactions, reducing
      costs and establishing a leading framework for ESG and return of capital. The
      combination of the two companies, together with the ongoing momentum from
      these strategic actions, will accelerate our efforts and ideally position the combined
      company to generate strong free cash flow, execute a focused strategy and enhance
      the return of capital.”

      Mr. Peterson added, “We are bringing together two like-minded companies and
      cultures through a merger-of-equals transaction. Both organizations have
      outstanding talent and operational practices that we are excited to integrate to create
      an even stronger combined company. This is also an exciting and very positive
      development for the communities in which we operate and the great states of North
      Dakota and Montana. We look forward to unlocking the enormous potential of our
      assets and organizations for the benefit of our stakeholders.”

      Combined Company Positioned to Succeed in Dynamic E&P Environment

         •   Premier Williston Basin Position with Enhanced Scale and Top Tier
             Assets. The combined company will be positioned as a premier operator in
             the Williston Basin, combining high quality assets with low breakeven
             pricing operated by an experienced team. The combined company expects
             to produce 164-169 Mboe/d in 2022.

         •   Accretive to Financial Metrics. The transaction is expected to be accretive
             to key per-share metrics, including: E&P cash flow, E&P free cash flow,
             return of capital and net asset value. The combination is also expected to
             enhance the combined company’s credit profile and cost of capital, as it will
             have enhanced scale and stronger cash flow while maintaining an attractive
             balance sheet with expected net debt to EBITDAX of ~0.2x at close.




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         •   Enhances Sustainable Free Cash Flow Profile. The combined company
             is expected to generate significant free cash flow from its high-quality assets
             and disciplined capital spending across a wide range of commodity price
             scenarios. The combined company expects approximately $1.2B of free
             cash flow and a reinvestment rate below 40% in 2022 at $85/bbl WTI and
             $3.50/MMBtu NYMEX gas.

         •   Commitment to Enhanced Capital Return Program through Base Plus
             Variable Dividend Strategy and Share Repurchases. Shareholder returns
             will be central to the strategy of the combined company. During the second
             half of 2022, the combined company will target a return of capital program
             representing 60% of free cash flow. The combined company is expected to
             increase its aggregate base dividend at close to ~$25MM per quarter, or
             $0.585 per share, using variable dividends and share repurchases to return
             the full targeted amount. Both companies will continue their respective
             formally announced programs before the transaction closes. The combined
             company board is expected to establish a formal long-term return of capital
             program after close. Given the strong assets, significant free cash flow
             generation, capital discipline and excellent financial position of the
             organization, this program is expected to provide meaningful returns of
             capital to shareholders.

         •   Delivers Significant Cost Saving and Operational Synergy
             Opportunity. Whiting and Oasis shareholders will each benefit from the
             significant upside potential created from identified administrative and
             operational cost synergies of $65MM on an annual basis by the second half
             of 2023. Both companies are industry leaders in operational excellence and
             will combine best practices to further advance efficiencies across operating
             expenses and capital expenditures.

         •   Strong Financial Position and Relatively Unlevered Balance Sheet at
             Close. The combined company will have a peer-leading balance sheet with
             expected leverage of ~0.2x at close, including the impact of the merger
             consideration and special dividend. Additionally, the combined company
             expects to have minimal borrowings under its $900MM borrowing base,
             resulting in strong liquidity at close. The balance sheet is further bolstered
             by no near-term maturities.

         •   Continued ESG Commitment. Together, the combined company will
             continue Whiting’s and Oasis’ existing ESG efforts, including applying best
             practices across both companies related to safety, gas capture and emissions
             reduction.

      Governance and Leadership




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         Upon closing, the Board of Directors of the combined company will consist of ten
         directors, comprising four independent directors from the current Whiting Board,
         as well as Mr. Peterson, and four independent directors from the current Oasis
         Board, along with Mr. Brown.

         The remainder of the company’s leadership team includes Michael Lou, Oasis’
         CFO, Chip Rimer, Whiting’s COO and Scott Regan, Whiting’s GC, who will serve
         in their respective capacities in the combined company.

         Timing and Approvals

         The transaction, which is expected to close in the second half of 2022, has been
         unanimously approved by the boards of directors of both companies. The closing
         of the transaction is subject to customary closing conditions, including, among
         others, approval by Whiting and Oasis shareholders.


Potential Conflicts of Interest

         35.       The breakdown of the benefits of the deal indicate that Whiting insiders are the

primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as

Plaintiff. The Board and the Company’s executive officers are conflicted because they will have

secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as

a public stockholder of Cimarex.

         36.       Notably, Company insiders, currently own large, illiquid portions of Company

stock that will be exchanged for the merger consideration upon the consummation of the Proposed

Transaction. However, while the Registration Statement provides the following, it fails to disclose

an accounting of how much merger consideration the below holdings will be exchanged for upon

the consummation of the Proposed Transaction.
                                                                                              Number of Percentage of
                                                                             Percent of        Whiting      Whiting
                                                      Shares of Whiting Whiting Common         Warrants     Warrants
                                                       Common Stock      Stock Beneficially   Beneficially Beneficially
Name of Beneficial Owner                              Beneficially Owned     Owned(1)           Owned       Owned(2)
Directors and officers prior to the Merger:
Lynn A. Peterson                                                70,447                   *          —             —
James P. Henderson                                              34,854                   *          —             —
Charles J. Rimer                                                34,775                   *        3,482            *
M. Scott Regan                                                   4,326                   *        1,283            *
Sirikka R. Lohoefener                                            1,692                   *        1,567            *
Janet L. Carrig(3)                                              10,081                   *          —             —
Susan M. Cunningham(3)                                          10,081                   *          —             —




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Paul J. Korus(3)                                                    14,581                    *           —                —
Kevin S. McCarthy(3)                                                22,581                    *           —                —
Daniel J. Rice IV(3)                                                25,231                    *           —                —
Anne Taylor(3)                                                      10,081                    *           —                —
All directors and officers prior to the Merger (11
   persons)                                                        238,730                    *         6,332              *
Five Percent Holders prior to the Merger:
BlackRock, Inc.(4)                                            2,949,144                  7.5%             —                —
The Vanguard Group, Inc.(5)                                   3,942,378                 10.0%             —                —
Wellington Management Group LLP(6)                            3,768,472                  9.6%             —                —
FMR LLC(7)                                                    5,624,177                 14.3%             —


         37.      Moreover, upon the consummation of the Proposed Transaction, the Registration

Statement indicates that each outstanding Company stock option, restricted share, or other equity
award will be canceled and converted into the right to receive certain consideration. Such awards

are significant, and will grant each director or officer entitled to them millions of dollars,

compensation not shared by Plaintiff, as follows:
                                                                        Number of Unvested
                                                                          Shares Subject to
                                              Number of Unvested        Whiting PSU Awards
                                               Shares Subject to       at Target or Maximum
                                              Whiting RSU Awards            Achievement                 Total
                                                     (#)(1)                     (#)(2)                   ($)
         Whiting Executive Officer
         Lynn A. Peterson                                123,266                     208,854          27,575,900
         James P. Henderson                               68,723                      67,131          11,279,973
         Charles J. Rimer                                 57,564                      67,131          10,353,441
         M. Scott Regan                                   20,379                      40,701           5,071,439
         Sirikka R. Lohoefener                             5,776                      10,001           1,309,966


         38.      In addition, certain employment agreements with certain Whiting executives,

entitle such executives to severance packages should their employment be terminated under certain

circumstances. These ‘golden parachute’ packages are significant, and will grant each director or

officer entitled to them millions of dollars, compensation not shared by Plaintiff, as follows:
                                                                                                  Perquisites/
                 Whiting Named Executive Officer                     Cash(1)      Equity(2)        Benefits(3)     Total
Lynn A. Peterson (President and Chief Executive Officer)           $3,325,000 $29,045,900 $            5,153 $32,376,053
James P. Henderson (Executive Vice President Finance and
Chief Financial Officer)                                           $1,912,500 $11,279,973 $ 54,475 $13,246,948
Charles J. Rimer (Executive Vice President Operations and
Chief Operating Officer)                                           $1,912,500 $10,353,441 $ 54,475 $13,320,416
M. Scott Regan (Vice President, Legal, General Counsel and
Secretary)                                                         $1,600,000 $ 5,071,439 $ 58,997 $ 6,730,436




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Sirikka R. Lohoefener (Vice President, Accounting and
Controller)                                                  $ 852,600 $ 1,309,966 $ 58,970 $ 2,221,536


        39.      The Registration Statement also fails to adequately disclose communications

regarding post-transaction employment during the negotiation of the underlying transaction must

be disclosed to stockholders. Communications regarding post-transaction employment during the

negotiation of the underlying transaction must be disclosed to stockholders. This information is

necessary for Plaintiff to understand potential conflicts of interest of management and the Board,

as that information provides illumination concerning motivations that would prevent fiduciaries

from acting solely in the best interests of the Company’s stockholders.

        40.      Thus, while the Proposed Transaction is not in the best interests of Cimarex,

Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s officers

and directors.

The Materially Misleading and/or Incomplete Registration Statement

        41.      On April 28, 2022, the Whiting Board and Oasis caused to be filed with the SEC a

materially misleading and incomplete Registration Statement that, in violation the Exchange Act,

failed to provide Plaintiff in his capacity as a Company stockholder with material information

and/or provides materially misleading information critical to the total mix of information available

to Plaintiff concerning the financial and procedural fairness of the Proposed Transaction.
        Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

        to the Proposed Transaction

        42.      Specifically, the Registration Statement fails to disclose material information

concerning the process conducted by the Company and the events leading up to the Proposed

Transaction. In particular, the Registration Statement fails to disclose:

                 a. Whether the confidentiality agreements entered into by the Company with

                     Oasis differed from any other unnamed confidentiality agreement entered into




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                 between the Company and potentially interested third parties, and if so, in what

                 way;

              b. All specific conditions under which any standstill provision contained in any

                 entered confidentiality agreement entered into between the Company and

                 potentially interested third parties throughout the sales process, including Oasis,

                 would fall away;

              c. Why the Board agreed to the merger consideration without the protections of a

                 collar mechanism to keep the merger consideration within a reasonable range;

              d. Adequate information regarding whether a special committee of disinterested

                 directors was created to run the sales process, including:

                     i. If such a committee was not created, the specific reasoning as to why;

                     ii. If such a committee was created, the identity of the directors who sat on

                         it, as well as the specific powers of that committee;

              e. Communications      regarding      post-transaction   employment      during    the

                 negotiation of the underlying transaction must be disclosed to stockholders.

                 Communications      regarding      post-transaction   employment      during    the

                 negotiation of the underlying transaction must be disclosed to stockholders.

                 This information is necessary for stockholders to understand potential conflicts

                 of interest of management and the Board, as that information provides

                 illumination concerning motivations that would prevent fiduciaries from acting

                 solely in the best interests of Plaintiff and Company stockholders.

       Omissions and/or Material Misrepresentations Concerning Whiting’s Financial

       Projections

       43.    The Registration Statement fails to provide material information concerning

financial projections for Whiting provided by Whiting and Oasis management and relied upon by




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Citi and TPH in their analyses. The Registration Statement discloses management-prepared

financial projections for the Company which are materially misleading

       44.     The Registration Statement should have, but fails to provide, certain information in

the projections that Whiting and Oasis management provided to the Board, Citi, and TPH. Courts

have uniformly stated that “projections … are probably among the most highly-prized disclosures

by investors. Investors can come up with their own estimates of discount rates or [] market

multiples. What they cannot hope to do is replicate management’s inside view of the company’s

prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       45.     With regard to Whiting Projections prepared by Whiting management, the

Registration Statement fails to disclose material line items for the following metrics:

               a. The specific reasoning for utilizing the oil and natural gas assumptions based

                   on (1) New York Mercantile Exchange strip pricing as of March 3, 2022, and

                   (2) Wall Street consensus pricing, as of March 3, 2022 (which we refer to as

                   “Wall Street Consensus”);

               b. Regarding the Whiting Standalone Forecasts prepared by Whiting

                   Management, the Registration Statement fails to disclose the material line items

                   for the following metrics:

                       i. Production (MBoe/d), for all assumption cases, including all underlying

                           necessary inputs and assumptions, including: the individual metrics for

                           oil, natural gas and NGLs production;

                       ii. EBITDAX, for all assumption cases, including all underlying necessary

                           inputs and assumptions, including: earnings before interest, taxes,

                           depreciation (and/or depletion), amortization and exploration expense,

                           adjusted for, as applicable, certain non-recurring, non-cash and other

                           items;




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                      iii. Capital Expenditures, for all assumption cases, including all underlying

                           necessary inputs and assumptions, including: the excluded acquisition

                           capital expenditures with acquisition from Lime Rock Resources in the

                           first quarter of 2022;

                      iv. Levered free cash flow, for all assumption cases, including all

                           underlying necessary inputs and assumptions, including: operating cash

                           flow less cash interest expense, cash taxes and E&P;

       46.     With regard to the Whiting Projections, prepared by Oasis management the

Registration Statement fails to disclose material line items for the following metrics:

               a. The specific reasoning for utilizing the oil and natural gas assumptions based

                   on (1) New York Mercantile Exchange strip pricing as of March 3, 2022,

                   (2) Wall Street consensus pricing, as of March 3, 2022 (which we refer to as

                   “Wall Street Consensus”), and (3) a three-year arithmetic average based on

                   WTI and Henry Hub closing prices over the three preceding years as of

                   March 3, 2022;

               b. Regarding the Whiting Case 1 and Whiting Case 2 projections prepared by

                   Oasis Management, the Registration Statement fails to disclose the material line

                   items for the following metrics:

                       i. Production (MBoe/d), for all assumption cases, including all underlying

                           necessary inputs and assumptions, including: the individual metrics for

                           oil, natural gas and NGLs production;

                       ii. EBITDAX, for all assumption cases, including all underlying necessary

                           inputs and assumptions, including: earnings (loss) before interest

                           expense, income taxes, DD&A, exploration expenses and other similar

                           non-cash or non-recurring charges less certain known liability
                           payments;




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                      iii. Levered free cash flow, for all assumption cases, including all

                          underlying necessary inputs and assumptions, including: cash interest

                          expense, cash taxes and E&P and other capital expenditures (excluding

                          acquisition capital).

       47.     The Registration Statement also fails to disclose a reconciliation of all non-GAAP

to GAAP metrics utilized in the projections.

       48.     This information is necessary to provide Plaintiff in his capacity as a Company

stockholder a complete and accurate picture of the sales process and its fairness. Without this

information, Plaintiff is not fully informed as to Defendants’ actions, including those that may

have been taken in bad faith, and cannot fairly assess the process.

       49.     Without accurate projection data presented in the Registration Statement, Plaintiff

is unable to properly evaluate the Company’s true worth, the accuracy of Citi’s or TPH’s financial

analyses, or make an informed decision whether to vote in favor of the Proposed Transaction. As

such, the Board has violated the Exchange Act by failing to include such information in the

Registration Statement.

       Omissions and/or Material Misrepresentations Concerning Oasis’s Financial Projections

       50.     The Registration Statement fails to provide material information concerning

financial projections for Oasis provided by Oasis and Whiting management and relied upon by

Citi and TPH in their analyses. The Registration Statement discloses management-prepared

financial projections for the Parent which are materially misleading.

       51.     The Registration Statement should have, but fails to provide, certain information in

the projections that Oasis and Whiting management provided to the Board, Citi, and TPH. Courts

have uniformly stated that “projections … are probably among the most highly-prized disclosures

by investors. Investors can come up with their own estimates of discount rates or [] market

multiples. What they cannot hope to do is replicate management’s inside view of the company’s
prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).




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       52.     With regard to Oasis Projections prepared by Whiting management, the

Registration Statement fails to disclose material line items for the following metrics:

               a. The specific reasoning for utilizing the oil and natural gas assumptions based

                   on (1) New York Mercantile Exchange strip pricing as of March 3, 2022, and

                   (2) Wall Street consensus pricing, as of March 3, 2022 (which we refer to as

                   “Wall Street Consensus”);

               b. Regarding the Oasis Standalone Forecasts prepared by Whiting Management,

                   the Registration Statement fails to disclose the material line items for the

                   following metrics:

                       i. Production (MBoe/d), for all assumption cases, including all underlying

                           necessary inputs and assumptions, including: the individual metrics for

                           oil and natural gas;

                       ii. EBITDAX, for all assumption cases, including all underlying necessary

                           inputs and assumptions, including: earnings (loss) before interest

                           expense, income taxes, DD&A, exploration expenses and other similar

                           non-cash or non-recurring charges including specifically distributions

                           with respect to the Crestwood Units;

                      iii. Levered free cash flow, for all assumption cases, including all

                           underlying necessary inputs and assumptions, including: cash interest

                           expense, cash taxes and E&P and other capital expenditures (excluding

                           acquisition capital);

       53.     With regard to the Oasis Projections, prepared by Oasis management the

Registration Statement fails to disclose material line items for the following metrics:

               a. The specific reasoning for utilizing the oil and natural gas assumptions based

                   on (1) New York Mercantile Exchange strip pricing as of March 3, 2022,
                   (2) Wall Street consensus pricing, as of March 3, 2022 (which we refer to as




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                   “Wall Street Consensus”), and (3) a three-year arithmetic average based on

                   WTI and Henry Hub closing prices over the three preceding years as of

                   March 3, 2022;

               b. Regarding the Oasis Case 1 and Oasis Case 2 projections prepared by Oasis

                   Management, the Registration Statement fails to disclose the material line items

                   for the following metrics:

                       i. Production (MBoe/d), for all assumption cases, including all underlying

                          necessary inputs and assumptions, including: the individual metrics for

                          oil, natural gas and NGLs production;

                      ii. EBITDAX, for all assumption cases, including all underlying necessary

                          inputs and assumptions, including: earnings (loss) before interest

                          expense, income taxes, DD&A, exploration expenses and other similar

                          non-cash or non-recurring charges including specifically the

                          distributions with respect to the Crestwood Units;

                      iii. Levered free cash flow, for all assumption cases, including all

                          underlying necessary inputs and assumptions, including: cash interest

                          expense, cash taxes and E&P and other capital expenditures (excluding

                          acquisition capital).

       54.     The Registration Statement also fails to disclose a reconciliation of all non-GAAP

to GAAP metrics utilized in the projections.

       55.     This information is necessary to provide Plaintiff in his capacity as a Company

stockholder a complete and accurate picture of the sales process and its fairness. Without this

information, Plaintiff is not fully informed as to Defendants’ actions, including those that may

have been taken in bad faith, and cannot fairly assess the process.

       56.     Without accurate projection data presented in the Registration Statement, Plaintiff
is unable to properly evaluate the Oasis’s true worth (and thus the true worth of the merger




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consideration), the accuracy of Citi’s or TPH’s financial analyses, or make an informed decision

whether to vote in favor of the Proposed Transaction. As such, the Board has violated the

Exchange Act by failing to include such information in the Registration Statement.

       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by Citi

       57.     In the Registration Statement, Citi describes its fairness opinion and the various

valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying

assumptions. Without this information, one cannot replicate the analyses, confirm the valuations

or evaluate the fairness opinions.

       58.     As an initial matter the Registration Statement does not provide sufficient

information as to the inputs and assumptions underlying the Market and Commodity Price

Assumptions utilized by Citi in its analyses.

       59.     With respect to the Selected Public Companies Analyses, the Registration

Statement fails to disclose the following:

               a. The specific metrics for each compared company;

               b. The specific inputs and assumptions used to determine the following sets of

                   multiple reference ranges as applied to Whiting:

                       i. 2022 EBITDAX multiple reference range of 3.6x to 4.4x;

                       ii. 2023 estimated EBITDAX multiple reference range of 3.4x to 4.2x;

                      iii. Calendar year 2022 estimated CFPS multiples of 2.5x to 3.0x;

                      iv. Calendar year 2023 estimated CFPS multiples of 2.4x to 2.9x;

                       v. Calendar year 2022 estimated FCF yields of 18.9% to 15.5%;

                      vi. Calendar year 2023 estimated FCF yields of 20.0% to 16.4%;

               c. The specific inputs and assumptions used to determine the following sets of

                   multiple reference ranges as applied to Oasis;
                       i. 2022 EBITDAX multiple reference range of 3.6x to 4.4x;




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                       ii. 2023 estimated EBITDAX multiple reference range of 3.4x to 4.2x;

                      iii. Calendar year 2022 estimated CFPS multiples of 2.5x to 3.0x;

                       iv. Calendar year 2023 estimated CFPS multiples of 2.4x to 2.9x;

                       v. Calendar year 2022 estimated FCF yields of 18.9% to 15.5%;

                       vi. Calendar year 2023 estimated FCF yields of 20.0% to 16.4%;

       60.     With respect to the Net Asset Value Analysis - Whiting, the Registration Statement

fails to disclose the following:

               a. The specific inputs and assumptions used to determine the utilized discount rate

                   range as to Whiting of 10.6% to 11.8%;

               b. The specific unlevered, pre-tax free cash flows that Whiting was forecasted to

                   generate from Whiting’s proved developed reserves, drilled uncompleted

                   reserves and undeveloped reserves, as well as the specific inputs and

                   assumptions used to calculate this metric;

               c. The specific estimated unlevered, pre-tax exploration expenses, non-

                   drilling and completion capital expenditures, corporate expenses and net hedge,

                   and other gains and losses; as well as the specific inputs and assumptions used

                   to calculate this metric;

               d. The specific cash taxes utilized for Whiting; and

               e. Whiting’s estimated net debt as of January 31, 2022.

       61.     With respect to the Net Asset Value Analysis - Oasis, the Registration Statement

fails to disclose the following:

               a. The specific inputs and assumptions used to determine the utilized discount rate

                   range as to Whiting of 10.6% to 11.8%;

               b. The specific unlevered, pre-tax free cash flows that Oasis was forecasted to

                   generate from Oasis’ proved developed producing reserves and currently




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                   undeveloped resources, as well as the specific inputs and assumptions used to

                   calculate this metric;

               c. The     specific   unlevered,    pre-tax non-drilling and    completion     capital

                   expenditures, corporate expenses and net hedge and other gains and losses, as

                   well as the specific inputs and assumptions used to calculate this metric;

               d. The specific cash taxes utilized for Oasis; and

               e. The specific market value of the Crestwood Units utilized; and

               f. Oasis’s estimated net debt as of January 31, 2022

       62.     With respect to the Wall Street Research Analysts’ Price Targets analysis, the

Registration Statement fails to disclose the following:

               a. All equity research price targets utilized; and

               b. The identities of all equity research analysts utilized.

       63.     These disclosures are critical for Plaintiff to be able to make an informed decision

on whether to vote in favor of the Proposed Transaction.

       64.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes his value

and serves his interest as a stockholder. Moreover, without the key financial information and

related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s

determination that the Proposed Transaction is in his best interests as a public Whiting stockholder.

As such, the Board has violated the Exchange Act by failing to include such information in the

Registration Statement.

       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by TPH

       65.     In the Registration Statement, TPH describes its fairness opinion and the various

valuation analyses performed to render such opinion. However, the descriptions fail to include

necessary underlying data, support for conclusions, or the existence of, or basis for, underlying




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assumptions. Without this information, one cannot replicate the analyses, confirm the valuations

or evaluate the fairness opinions.

       66.     With respect to the Selected Public Companies Trading Analysis, the Registration

Statement fails to disclose the following:

               a. The metrics for each selected company;

               b. The specific inputs and assumptions used to calculate the utilized multiple

                   reference ranges for Oasis of:

                          i. 3.25x to 4.00x for 2022E and 2023E EV/EBITDAX;

                        ii. 16.0% to 20.0% for 2022E and 2023E FCF Yields;

               c. The specific inputs and assumptions used to calculate the utilized multiple

                   reference ranges for Whiting of

                          i. 3.00x to 3.75x for 2022E and 2023E EV/EBITDAX;

                        ii. 18.0% to 22.0% for 2022E and 2023E FCF Yields;

       67.     With respect to the Net Asset Value Analysis, the Registration Statement fails to

disclose the following:

               a. The specific unlevered, pre-tax free cash flows that Whiting and Oasis were

                   forecasted to generate in the applicable time frame, as well as the specific inputs

                   and assumptions used to calculate this metric;

               b. The specific inputs and assumptions used to determine the utilized discount rate

                   range of 8.5% to 11.0% for each of Oasis and Whiting for both Case 1 and Case

                   2;

               c. Specifically as to Oasis:

                          i. The present value of the cash flows generated by the estimated proved

                             developed reserves and undeveloped hydrocarbon resources, as well as

                             the specific inputs and assumptions used to calculate this metric;




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                      ii. The after-tax value of Oasis’ limited partnership interest in CEQP in a

                             hypothetical market disposition thereof (based on Oasis management

                             guidance) and the present value of future estimated effects of hedging

                             and receipt of contingent payments, as well as the specific inputs and

                             assumptions used to calculate this metric;

                     iii. The specific value for certain midstream long-haul transport fees and

                             minimum volume commitment shortfall payments utilized;

                      iv. Oasis’s Future estimated effects of general and administrative expenses

                             utilized;

                      v. Oasis’s Federal and state income taxes utilized;

                      vi. Oasis’s Non-drilling and completion capital expenditures utilized;

                     vii. Oasis’s net debt as of December 31, 2021;

               d. Specifically as to Whiting:

                          i. The present value of the cash flows generated by the estimated proved

                             developed reserves and undeveloped hydrocarbon resources, as well as

                             the specific inputs and assumptions used to calculate this metric;

                      ii. The present value of future estimated effects of hedging, as well as the

                             specific inputs and assumptions used to calculate this metric;

                     iii. The present value of certain known liability payments, future estimated

                             effects of general and administrative expenses, cash taxes and non-

                             drilling and completion capital expenditures for Whiting, utilized;

                      iv. Whiting’s net debt as of December 31, 2021, utilized.

       68.     With respect to the NAV Has/Gets Analysis, the Registration Statement fails to

disclose the following:

               a. The Oasis Expected Synergies, utilized;




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               b. The cash portion of the merger consideration payable to Whiting stockholders,

                   utilized;

               c. The Oasis special dividend payable to Oasis stockholders, utilized;

               d. The sum of estimated transaction expenses and other items, utilized

               e. The specific inputs and assumptions sued to determine the utilized discount rate

                   range of 8.5% to 11.0% as applied to the unlevered cash flows;

               f. The share count of the pro forma;

               g. The specific per-share Oasis special dividend payable to Oasis stockholders.

       69.     With respect to the Equity Research Analysts’ Price Targets analysis, the

Registration Statement fails to disclose the following:

               a. All equity research price targets utilized; and

               b. The identities of all equity research analysts utilized.

       70.     These disclosures are critical for Plaintiff to be able to make an informed decision

on whether to vote in favor of the Proposed Transaction.

       71.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes his value

and serves his interest as a stockholder. Moreover, without the key financial information and

related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s

determination that the Proposed Transaction is in his best interests as a public Whiting stockholder.

As such, the Board has violated the Exchange Act by failing to include such information in the

Registration Statement.

                                          FIRST COUNT

                          Violations of Section 14(a) of the Exchange Act

                                     (Against All Defendants)

       72.     Plaintiff repeats all previous allegations as if set forth in full herein.




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       73.     Defendants have disseminated the Registration Statement with the intention of

soliciting stockholders, including Plaintiff, to vote in favor of the Proposed Transaction.

       74.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection

with the Proposed Transaction. Specifically, Section 14(a) provides that:

       It shall be unlawful for any person, by the use of the mails or by any means or

       instrumentality of interstate commerce or of any facility of a national securities

       exchange or otherwise, in contravention of such rules and regulations as the [SEC]

       may prescribe as necessary or appropriate in the public interest or for the protection

       of investors, to solicit or to permit the use of his name to solicit any proxy or consent

       or authorization in respect of any security (other than an exempted security)

       registered pursuant to section 78l of this title.

       75.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

       No solicitation subject to this regulation shall be made by means of any proxy

       statement, form of proxy, notice of meeting or other communication, written or

       oral, containing any statement which, at the time and in the light of the

       circumstances under which it is made, is false or misleading with respect to any

       material fact, or which omits to state any material fact necessary in order to make

       the statements therein not false or misleading or necessary to correct any statement

       in any earlier communication with respect to the solicitation of a proxy for the same

       meeting or subject matter which has become false or misleading.

       76.     The Registration Statement was prepared in violation of Section 14(a) because it is

materially misleading in numerous respects and omits material facts, including those set forth

above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that

the Registration Statement is materially misleading and omits material facts that are necessary to

render them non-misleading.




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       77.     The Individual Defendants had actual knowledge or should have known of the

misrepresentations and omissions of material facts set forth herein.

       78.     The Individual Defendants were at least negligent in filing a Registration Statement

that was materially misleading and/or omitted material facts necessary to make the Registration

Statement not misleading.

       79.     The misrepresentations and omissions in the Registration Statement are material to

Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to vote his shares in

favor of the Proposed Transaction on the basis of complete information if such misrepresentations

and omissions are not corrected prior to the vote regarding the Proposed Transaction.

                                        SECOND COUNT

                        Violations of Section 20(a) of the Exchange Act

                               (Against all Individual Defendants)

       80.     Plaintiff repeats all previous allegations as if set forth in full herein.

       81.     The Individual Defendants were privy to non-public information concerning the

Company and its business and operations via access to internal corporate documents, conversations

and connections with other corporate officers and employees, attendance at management and

Board meetings and committees thereof and via reports and other information provided to them in

connection therewith. Because of their possession of such information, the Individual Defendants

knew or should have known that the Registration Statement was materially misleading to Plaintiff

in his capacity as a Company stockholder.

       82.     The Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the materially false and misleading statements complained of herein. The Individual

Defendants were aware or should have been aware that materially false and misleading statements

were being issued by the Company in the Registration Statement and nevertheless approved,

ratified and/or failed to correct those statements, in violation of federal securities laws. The
Individual Defendants were able to, and did, control the contents of the Registration Statement.




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The Individual Defendants were provided with copies of, reviewed and approved, and/or signed

the Registration Statement before its issuance and had the ability or opportunity to prevent its

issuance or to cause it to be corrected.

       83.     The Individual Defendants also were able to, and did, directly or indirectly, control

the conduct of Whiting’s business, the information contained in its filings with the SEC, and its

public statements. Because of their positions and access to material non-public information

available to them but not the public, the Individual Defendants knew or should have known that

the misrepresentations specified herein had not been properly disclosed to and were being

concealed from Plaintiff and Company, and that the Registration Statement was misleading. As a

result, the Individual Defendants are responsible for the accuracy of the Registration Statement

and are therefore responsible and liable for the misrepresentations contained herein.

       84.     The Individual Defendants acted as controlling persons of Whiting within the

meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Whiting to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Whiting and all of its

employees. As alleged above, Whiting is a primary violator of Section 14 of the Exchange Act

and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to

section 20(a) of the Exchange Act.

       WHEREFORE, Plaintiff demands injunctive relief, in his favor and against the Defendants,

as follows:

       A.      Enjoining the Proposed Transaction;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

       setting it aside or awarding rescissory damages to Plaintiff;

       C.      Directing the Individual Defendants to comply with the Exchange Act to

       disseminate a Registration Statement that does not contain any untrue statements of

       material fact and that states all material facts required in it or necessary to make the




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      statements contained therein not misleading;

      D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

      Plaintiff’s attorneys’ and experts’ fees; and

      E.      Granting such other and further relief as this Court may deem just and proper.

                                DEMAND FOR JURY TRIAL

           Plaintiff hereby demands a jury on all issues which can be heard by a jury.


 Dated: May 9, 2022                                   BRODSKY & SMITH, LLC

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                                                      Counsel for Plaintiff




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